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10
11                          UNITED STATES DISTRICT COURT
12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                               WESTERN DIVISION
14 UNITED STATES OF AMERICA,             )   CASE NO. CR-302-PSG
                                         )
15             Plaintiff,                )   WALTER WILLIAMS’
                                         )   SUPPLEMENTAL MOTION TO
16       vs.                             )   DISMISS COUNTS 3 AND 4 BASED
                                         )   UPON PROSECUTION RELIANCE
17                                       )   ON 18 U.S.C. § 2423(f)(2);
     WALTER LEE WILLIAMS,                )   MEMORANDUM OF POINTS &
18                                       )   AUTHORITIES
               Defendant.                )
19                                       )   Date Requested:   March 19, 2014
                                         )   Time Requested:   9:00 a.m.
20                                       )   Trial Date:       March 19, 2014
                                         )   Trial Time:       9:00 a.m.
21                                       )   Place:            880-Roybal
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           Walter Williams, through counsel, hereby supplements the previously filed
 1
     motion to dismiss Counts 3 and 4 of the Indictment [Docket No. 34]. By relying upon
 2
     subsection (f)(2) (commercial sex act) of Title 18 U.S.C. § 2423, as argued before this
 3
     Court in pleadings and during oral argument on March 3, 2014, the prosecution
 4
     impermissibly relies upon facts not alleged in the Indictment nor supported by Grand
 5
     Jury testimony. See Order Denying Defendant’s Motion to Dismiss Counts 3 and 4
 6
     Without Prejudice [Docket No. 75].
 7
 8 DATED: March 5, 2014
                                     Respectfully submitted,
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                                     LAW OFFICES OF EVAN A. JENNESS,
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                                     By:    /s/ Evan A. Jenness
12                                         EVAN A. JENNESS, ESQ.
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                                     LAW OFFICE OF JEFFREY J. DOUGLAS,
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                                     By:    /s/ Jeffrey J. Douglas
16                                         JEFFREY J. DOUGLAS, ESQ.
17                                         Attorneys for Defendant, Walter Lee Williams
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2                                              I.
 3                                    INTRODUCTION
 4         The prosecution has charged Walter Williams in the Central District of
 5 California with consensual sexual conduct with sexually active teenagers while he
 6 travelled through the Republic of the Philippines between January 22 and February 11,
 7 2011. Although the indictment was returned on April 30, 2013 and Professor
 8 Williams was arraigned on June 20, 2013, it was not until February 10, 2014, that the
 9 prosecution first stated its intention to rely upon Title 18 U.S.C. § 2423(f)(2) as the
10 basis of alleging illicit sexual conduct in Counts 3 and 4 of the Indictment. See United
11 States’ Opposition to Defendant’s Motion Counts 3 and 4 of the Indictment [Docket
12 No. 51]. Since the Indictment does not allege, and the sole witness before the Grand
13 Jury did not allege, a commercial sex act, as defined in subsection 2423(f)(2), Counts
14 3 and 4 must be dismissed.
15                                             II.
16                                       ARGUMENT
17            THE GOVERNMENT ALLEGED, FOR THE FIRST TIME
18        IN ITS OPPOSTION PLEADING, ITS INTENT TO RELY UPON A
19         COMMERCIAL SEX ACT IN SUPPORT OF COUNTS 3 AND 4,
20       WITHOUT SUPPORTING ALLEGATIONS IN THE INDICTMENT
21         The offense charged in both Counts 3 and 4 of the Indictment is 18
22 U.S.C. § 2423(c). That subsection criminalizes “illicit sexual conduct,” defined in
23 subsection (f) as either any commercial sex act with a person under 18 years of age
24 ((f)(2)) or “a sexual act (as defined in section 2246) with a person under 18 years of
25 age that would be in violation of chapter 109A if the sexual act occurred in the
26 special maritime and territorial jurisdiction of the United States” ((f)(1)). 18 U.S.C.
27 § 2246 defines “a sexual act” as:
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 1         “(A) contact between the penis and the vulva or the penis and the anus,
 2         and for purposes of this subparagraph contact involving the penis
 3         occurs upon penetration, however, slight;
 4         (B) contact between the mouth and the penis, the mouth and the vulva,
 5         or the mouth and the anus;
 6         (C) the penetration, however slight, of the anal or genital opening of
 7         another by a hand or finger or by any object, with an intent to abuse,
 8         humiliate, harass, degrade, or arouse or gratify the sexual desire of any
 9         person; or
10         (D) the intentional touching, not through the clothing, of the genitalia
11         of another person who has not attained the age of 16 years with an
12         intent to abuse, humiliate, harass, degrade, or arouse or gratify the
13         sexual desire of any person….”
14         Title 18 U.S.C. § 2246 distinguishes “sexual act” from “sexual contact.”
15 “Sexual contact” involves sexual or offensive touching through clothing of a person
16 of any age.
17         The Indictment makes no reference to a commercial sex act as the basis for
18 alleging illicit sexual conduct. See Docket No. 1. This is consistent with the
19 testimony of the sole witness before the grand jury. The testimony of FBI Special
20 Agent Jeff Yesensky described allegations of sexual activity with the two alleged
21 victims named in the Indictment (JM and VC) without any reference to the payment
22 of any compensation. The only references to compensation in the Grand Jury
23 testimony were in connection with Internet sex chat, all of which occurred prior to
24 the international travel alleged in the Indictment.
25         At least in the Ninth Circuit, following the ruling in United States v. Clark,
26 435 F.3d 1100 (2006), if the government intended to rely upon any “commercial sex
27 act,” rather than a “sexual act” as defined in 18 U.S.C. 2246, it needed to allege so
28 in the Indictment and offer supporting testimony before the Grand Jury. The Clark


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 1 opinion made clear that there was a constitutional distinction between allegations of
 2 commercial sex and non-commercial sex, as briefed in earlier pleadings. See
 3 Williams Motion to Dismiss Counts 3 and 4 of the Indictment [Docket No. 34].
 4        The law requiring specific factual allegations within the Indictment goes back
 5 well over a century:
 6        “It has long been recognized that there is an important corollary
 7        purpose to be served by the requirement that an indictment set out ‘the
 8        specific offence, coming under the general description,’ with which the
 9        defendant is charged. This purpose, as defined in United States v.
10        Cruikshank, 92 U.S. 542, 558 [(1875)], is ‘to inform the court of the
11        facts alleged, so that it may decide whether they are sufficient in law to
12        support a conviction, if one should be had.' Viewed in this context, the
13        rule is designed not alone for the protection of the defendant, but for
14        the benefit of the prosecution as well, by making it possible for courts
15        called upon to pass on the validity of convictions under the statute to
16        bring an enlightened judgment to that task.” (Russell v. United States,
17        369 U.S. 749, 768-770 (1962), citations and parallel citations omitted.)
18        More recently, the Supreme Court reiterated that holding in Almendarez-
19 Torres v. United States, 523 U.S. 224 (1998). There it distinguished between an
20 element significant only as a sentencing factor and an actual element of the crime.
21        “An indictment must set forth each element of the crime that it charges.
22        But it need not set forth factors relevant only to the sentencing of an
23        offender found guilty of the charged crime. Within limits, the question
24        of which factors are which is normally a matter for Congress. We
25        therefore look to the statute before us and ask what Congress intended.
26        Did it intend the factor that the statute mentions, the prior aggravated
27        felony conviction, to help define a separate crime?” (Id. at 228-229,
28        citations omitted.)


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 1         The Fifth Circuit addressed a situation most closely aligned with this one in
 2 United States v. Lopez, 2 Fed.3d 1342 (1993). There the government defending a
 3 Commerce Clause challenge to the so-called “Gun-Free School Zones Act of 1990”
 4 argued that even if Congress failed to articulate a sufficient link to interstate
 5 commerce, there was a stipulation of testimony that the subject gun was
 6 manufactured outside Texas, the site of the offense. This was insufficient:
 7         “An indictment that fails to allege a commerce nexus, where such a
 8         nexus is a necessary element of the offense, is defective. This is true
 9         even though the language of [18 U.S.C.] section 922(q) [illegal to
10         possess firearm in a ‘school zone’] contains no such requirement.
11         Finally, because an indictment, unlike a bill of information, cannot be
12         amended, the failure to allege each element is fatal.” (Id. at 1368,
13         citations omitted.)
14         There is no possible analysis that can support subsections (f)(1) and (f)(2)
15 being anything other than an element of the offense. Without such an allegation of
16 illegal sexual conduct, there is no crime. The Clark Court explicitly limited its
17 holding to the constitutionality of (f)(2). Clark, 435 F.3d at 1109-1110.) Since only
18 a “commercial sex act” is definitively constitutional in the Ninth Circuit, if the
19 prosecution intended to rely upon that theory, it was required to place supporting
20 evidence before the Grand Jury and so allege in the Indictment. Lopez, 2 F.3d at
21 1368. It did neither.
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 1                                           III.
 2                                    CONCLUSION
 3        Counts 3 and 4 of the Indictment must be dismissed for failure to allege
 4 necessary facts and provide supporting evidence to the Grand Jury.
 5 DATED: March 5, 2014
 6                                 Respectfully submitted,
 7                                 LAW OFFICES OF EVAN A. JENNESS,
 8
                                   By:    /s/ Evan A. Jenness
 9                                       EVAN A. JENNESS, ESQ.
10                                 LAW OFFICES OF JEFFREY J. DOUGLAS,
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                                   By:    /s/ Jeffrey J. Douglas
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